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                                                                                       JS10(00:33)
MINUTE ENTRY
LEMELLE, J.
APRIL 27, 2023

                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                              CRIMINAL ACTION

VERSUS                                                                NO. 21-177

SEAN MARTIN &                                                         SECTION "B"(4)
GENE JACKSON

                             TRIAL PREPARATION ORDER

       Attending a pre-trial conference held this day were David

Haller    for   the    Government;        Marion    Floyd      and    Gary     Bizal    for

defendant Sean Martin, and Celia Rhoads and Jerrod Thompson-Hicks

for    defendant      Gene   Jackson.       Discussions        centered      around     the

pending motions, and additional motions that must still be filed.

After conferring with all counsel,

       IT IS ORDERED THAT:

  1. No    later    than     Thursday,      May    4,   2023    at    5:00     P.M.,    the

       Government      shall       file   any     motions   in       limine,    if     any.

       Defendants shall submit responses to the Government’s motions

       in limine, if any, no later than Tuesday, May 9, 2023 at 5:00

       P.M. An oral argument/evidentiary hearing shall take place on

       Thursday, May 11, 2023 at 9:00 A.M. before the undersigned.

  2. The Final Criminal Pre-Trial Conference shall take place on

       Thursday,      May    11,    2023,   immediately        following       the     oral



       argument/evidentiary hearing.
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3. THE   COURT   SPECIFICALLY    FINDS,     pursuant     to    18   U.S.C.

  § 3161(h)(7)(A), the ends of justice served by granting the

  requested continuance outweighs the best interest of the

  public and the defendant.

  THE COURT FURTHER SPECIFICALLY FINDS, pursuant to 18 U.S.C.

  § 3161(h)(7)(B)(i),     that   failure    to   grant   the    requested

  continuance in this case could result in a miscarriage of

  justice.

  THE COURT FURTHER SPECIFICALLY FINDS, pursuant to 18 U.S.C.

  § 3161(h)(7)(B)(iv), that failure to grant such a continuance

  would deny all counsel the reasonable time necessary for

  effective preparation, taking into account the exercise of

  due diligence. Accordingly,

  The Criminal Trial currently scheduled for Monday, May 8,

  2023 is hereby CONTINUED to Tuesday, May 30, 2023 at 8:30

  A.M. Trial is expected to last three (3) days.

4. No later than Wednesday, May 10, 2023 at 5:00 P.M., all

  stipulations and/or agreements shall be filed.

5. No later than Wednesday, May 10, 2023 at 5:00 P.M., counsel

  shall submit, in hard copy and electronic copy on a USB flash

  drive,   JOINT   proposed   voir   dire   questions,    special     jury

  charges, and verdict forms, if any, in Microsoft Word format.

6. No later than Wednesday, May 10, 2023 at 5:00 P.M., counsel

  shall file a list of all trial witnesses expected to be

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  called,        along   with   a   short   summary     of   the    anticipated

  testimony of each witness. Any expert reports must be provided

  to the opposing party no later than Wednesday, May 10, 2023

  at 5:00 P.M. If a party wishes to have the witness list filed

  under seal because of witness or party safety reasons, a

  motion for protective order shall be submitted with the

  witness list. Even if the list is filed under seal, the party

  is not relived of his or her duty to submit courtesy copies

  to opposing counsel pursuant to the local rules, unless the

  Court grants a motion ordering otherwise.

7. No    later    than   Thursday,    May   4,   2023   at   5:00    P.M.,   the

  government shall provide notice under Fed. R. Evid. 404(b),

  if applicable, or on an alternative basis.

8. No later than Wednesday, May 10, 2023 at 5:00 P.M., the

  government shall provide Jencks and Giglio materials, if any.

9. On or before Friday, May 19, 2023 at 5:00 P.M., counsel for

  all parties are to prepare and submit to the Court two (2)

  copies of a JOINT Bench Book which shall contain:

        a. An index of all exhibits listing and numbering all

          exhibits sequentially and noting specific objections

          thereto. All “un-objected to” exhibits are to be listed

          first followed by the “objected to” exhibits. In a

          separate document to be submitted to the Court at the




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         same time, the offering party must briefly respond to

         each objection in 2-3 sentences.

       b. All exhibits are to be included in the Joint Bench Book

         and tabbed. Each individual exhibit exceeding five (5)

         pages in length shall be individually paginated.

       c. A copy of the above-described index as well as all “un-

         objected to” exhibits and all “objected to” exhibits

         shall be delivered to the Court on a single USB flash

         drive along with the Joint Bench Books.

       d. Each exhibit book shall be labeled with the name and

         telephone number of attorneys as well as the case and

         volume number on the outside.

       e. All Joint Bench Books shall be picked up by counsel no

         later than the first Friday after the completion of the

         trial.

10. Demonstrative aids intended for use in opening statements

must be made available no later than Friday, May 19, 2023, at

5:00   P.M.   Demonstrative     aids   intended   for   use    in    closing

arguments must be made available for inspection no later than

noon the day before closing arguments.

11. The parties are warned that they, their witnesses, and any

other persons needing to participate in the trial must have

photo identification to enter the Courthouse. If a person is

prevented     from   entering   the    building   because     of    improper

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identification,    he   or   she   is   not   relived   of   his   or   her

obligations under a valid subpoena or other order of this Court

to appear.

12. No later than Friday, May 19, 2023, parties shall JOINTLY

call the Case Manager, Dena White (504-589-7719), to schedule

testing of their electronic equipment for compatibility with

the Court’s electronic system.




                              ___________________________________
                              SENIOR UNITED STATES DISTRICT JUDGE




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